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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

                                                     )
 FMR LLC and SEAPORT HOTEL LIMITED
                                                     )
 PARTNERSHIP,
                                                     )
                        Plaintiffs,                  )
                                                     )
 v.                                                  )
                                                     )
                                                     )    Civil Action No. 18-cv-11055
 OMNI HOTELS MANAGEMENT                              )
 CORPORATION, OH NBH OWNER, LLC,                     )
 NEW BOSTON HOSPITALITY, LLC, SPOT                   )
 ON VENTURES LLC, and THE DAVIS                      )
 COMPANIES,                                          )
                                                     )
                        Defendants.



                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Plaintiffs FMR LLC and Seaport Hotel Limited Partnership (hereinafter, “Fidelity”) and

Defendants Omni Hotel Management Corporation, OH NBH Owner, LLC, New Boston

Hospitality, LLC, Spot On Ventures LLC, and The Davis Companies (hereinafter, “Defendants,”

and with Fidelity, “the parties”), subject to the approval of the Court, hereby agree and stipulate

as follows:

       1.       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the

parties hereby dismiss with prejudice all claims in the above-captioned case.

       2.       Each party shall bear its own attorneys’ fees and costs.

       SO STIPULATED.




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FMR LLC and Seaport Hotel Limited Partnership,

By their attorneys,

/s/ Mark G. Matuschak
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 Dated: May 3, 2019



 For the Defendants,

 By their attorneys,

 /s/ Joel R. Leeman
 Joel R. Leeman (BBO #292070)
 Lisa. M. Tittemore (BBO #567941)
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 ltittemore@sunsteinlaw.com

 Dated: May 3, 2019




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                                    [PROPOSED] ORDER

       IT IS ORDERED that the foregoing Stipulation of Dismissal with Prejudice is approved.

This action is hereby dismissed with prejudice.


Dated: ___________, 2019             ________________________________________________
                                                 Honorable Richard G. Stearns
                                                  United States District Judge




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                            LOCAL RULE 7.1 CERTIFICATE

       I hereby certify that, in accordance with Local Rule 7.1(a)(2), counsel for FMR LLC and

Seaport Hotel Limited Partnership conferred with Defendants’ counsel, and Defendants’ counsel

consented to this motion.



Dated: May 3, 2019                                 /s/ Mark G. Matuschak
                                                   Mark G. Matuschak
                                                   (BBO No. 543873)




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                                 CERTIFICATE OF SERVICE

       I hereby certify that the documents filed through the CM/ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing and

paper copies will be sent to those indicated as non-registered participants on May 3, 2019.



                                                      /s/ Mark G. Matuschak
                                                      Mark G. Matuschak
                                                      (BBO No. 543873)




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